§ 32 Case 2:18-cv-O4275-.]S-AKT Document 1-1 Filed 07/27/18 Page 1 of 5 PagelD #: 8

ZCBHV

DATE: 08/24/17

l ||||

Change of Address |:l

(fill out on reverse side)
1MB ‘A-01-MOB-AM-02858-10

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cARoLYN McKEova

197 N|NA ST `
HOLBROOK NY 11741-4609 '5

Dear CAROLYN |\/|CKEOWN:

This past due account has been placed for collection.

_QOLLECTION BUREAU OF THE HUDSON VALLEYl |NC.

/CBHV erence #: Balance Due:
, 379 $387.11

 

 

 

 

 

Please Write your CBHV Reference # on your check.

_ Please send correspondence to this address. _

'|'|'l||'l'"n"l'l|"l'll'l"l'|'ll"l|'|l|l|'|l|ll'l'l|ll'"|'
CBHV

PO BOX 831

NEWBURGH NY12551-0831

DETACH HERE A

Unless you notify this office Within 30 days after receiving this notice that you dispute the validity of this debt, or
any portion thereof, this office Will assume this debt is valid. lf you notify this office in Writing Within 30 days
from receiving this notice that you dispute the validity of this debt, or any portion thereof, this office Will obtain
verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. lf
you request of this office in Writing Within 30 days after receiving this notice this office Will provide you With the
name and address of the original creditor, if different from the current creditor,

Please see reverse side for important information.

 

 

 

 

Creditor Account CBHV Transaction Balance
Number Reference # Date Due
oPTllvlulvl. -063-6 _2379 07/18/17 $387.11

 

 

 

 

 

 

 

Phone or Web Payment

For inquiries or to make a payment by phone, please call \
MR STEWART at (888) 913-7489 or (201) 350-8767.

To make a secure payment online, please visit
Www.cbhv.com/make-onllne-payment

 

Co||ection Bureau of the Hudson Val|ey, lnc. - Address and Office Hours (Eastern Time):

PO Box 831 - 155 North Plank Road ' Newburgh, NY 12550
l\/londay through Thursday: 8:30 AM - 9:00 Pl\/l ' Friday: 8:30 AM - 5:00 PM - Saturday: 8:30 AM -12:30 PM
Phone: (845) 561-6880 - (800) 745-1395 - Fax: (845) 913-7403

Member of ACA /nternat/onal S/'nce 1975

case 2ic&w-orzr,irm=smuowim;)awsM¢E®lart@ls€mb&:madm® RfEFr\FiQ<nelD #r 9

 

Yourname: ___ _ _ _ ___ _ _ _ _ HOme Phone _ ___ _ __ ____________________
Street: _ ___ _ ___ ______ __ _______________ Business Phone_ _ _ _ __ _ _ ____ _ _
Cilyi ____ _ _______________ ___ _ _____________ _________________ _ Slale__ ____ Zip__ _ ___ _ _____ _____
Emp|oyer ___ __ _ _ _ _ ___
lvlethocl of Payment (check one) insurance Co. __ ___ ____ ___ _ _ _ ______ _ _
Check Enc|osed _____ Visa ________ Address ___ __ ___ __ ___ ____ _ _ __ _ ______ _ _
l\/|asterCard Group # __ |D#___ ___
Acct#__ ____ ______ Effective Date__ _ _ _ _ __ __ _ ______
EXpiratiOn Date: _____ / _____ Subscriber: __ __.._...,__............,........__._.- _._.
Charge Amount: Subscriber$$#: -_-'_"' ' _"'""'
Signature ____ ____ ____________ __ _ __

New Yg[[g City

New York City Department of Consumer Affairs License Number: 0905924

There is a $20.00 fee for returned checks.

TH|S lS AN ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR AND ANY lNFORMAT|ON
OBTA|NED WlLL BE USED FOR THAT PURPOSE.

 

§ 02 Case 2:18-cv-04275-.]S-AKT Document 1-1 Filed 07/27/18 Page 3 of 5 PagelD #: 10

l F 7 C_OLLECTION §URE_A_\)__QELHE HUDSON \_/AtLEY_, INQ=
z B CBHV Reference #: Ba|ance Due:

172261100 $400.13

 

 

 

 

 

DATE: 08/16/17

Please Write your CBHV Reference # on your check.
Change of Address |:|

(fill out on reverse side)

1 AB 'A-O1-AV3-AI\/|-O4488-16
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KARoL EsPlNAL _ _ _ CBHV

7 LOCUST AVE PO BOX 831
BABYLON NY 11702-2207 NEWBURGH NY 12551-0831

_ Please send correspondence to this address. _

l

 

A DETACH HERE A

Dear KAROL ESP|NAL:
This past due account has been placed for collection.

Unless you notify this office Within 30 days after receiving this notice that you dispute the validity of this debt, or
any portion thereof, this office Will assume this debt is valid. lf you notify this office in Writing within 30 days
from receiving this notice that you dispute the validity of this debt, or any portion thereof, this office Will obtain
verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. lf
you request of this office in Writing Within 30 days after receiving this notice this office Will provide you With the
name and address of the original creditor, if different from the current creditor.

Please see reverse side for important information.

 

 

Creditor Account CBHV Transaction Ba|ance
Number Reference # Date Due
oPTllvluivl_ -562-5 -1100 07/10/17 $400_13

 

 

 

 

 

 

 

 

Phone or Web Payment

_ " Forl in uiries or to make a 5a ment by phone please call \
0 l\/|R TEWART at ()888 1 -7489 or (973) 721-6367.
To make a secure p)ayment online, please visit

WWW.cbhv.com/make-online-payment

 

Collection Bureau of the Hudson Val|ey, lnc. - Address and Office Hours (Eastern Time):

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Phone: (845) 561-6880 - (800) 745-1395 - Fax: (845) 913-7403

Member of ACA lnternational Since 1975

case 2:i§MYOQEf§-§§MQWW&UH§§HMGErqlé’dr©$$£?ltiel€PE@é\Nn)R§Tlv-t§gblD #: 11

 

Yourname: _______ _____ ________ _________ Home Phone_ _ _ _ _ _ _ ____
Street; _ _ _ _ Business Phone____ _ _ _ _ _ _ _
Cifyl _____ _ ___________________ _ __ ________ State_____ _____ Zip ___ ______ _ ___
Emp|oyer _ _ _________ _ ___ _ ___ _______ _
l\/|ethod of Payment (check one) insurance Co. __ ______ _ ___ _ _ _
Check |Inc|osed ____ Visa__ ______ Address ______ _____ __ ___ _
lvlasrercard _______ _ _ Group # .._ __ ___ _ lD# __ _
Acct # ___ _ __ ___ _ Effective Date; ___ _ __ _ __ __ _ _
EXpiratiOn Date: _____ / _____ SUbSCriber-: ________._______ ____ __ __________
Charge Amoum; _____ _____________ Subscriber SS#:_ _ ____ _ ___
Signature _ _ __ _ ___ _ __

Neg fork City

New York City Department of Consumer Affairs License Number: 0905924

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TH|S lS AN ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR AND ANY lNFORMATlON
OBTA|NED W|LL BE USED FOR THAT PURPOSE.

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case 2_1e-cv-04275-Js-AKT Document1-1 i=iied 07/27/13 Page 5 of 5 PageiD #- 12 .,$\"§')~`J""` ' ` ' '!$”" '." ' ` ` " ':`.`:"' `~' " ' l n " "
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_ .» .. , .. .. ¢ ’ ",- ".`l.¢ "_"~ ."-\:.¢._

 
 

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___ wress: Q_Q_i_i.iagig_i\i_eu_
case 4 t ACCOUNT _ Cei-iv TRANSA
'TOR NUMBER REFERENCE # DAT(§\ON

' OP“WM- -280-4 -aiair-

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BALANCE BALANCE BALANCE

$448.43 j $0_00

 

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7 ' -

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»~ Po Box 831 -
' Newburgh NY 12551-0831

   

 
 
   

07/31/17

NOT|CE OF lNTENT

 

Dear JOHANNE JOSEPH:
tiii a balance on this past due account. Piease respond to this letter within seven days or we may take

Our records indicate there is s

additional collection efforts.

The creditor shown above has authorized us to submit this account to the nationwide credit reporting agencies. As required by law
you are hereby notified that a negative credit report reflecting on your credit record may be submitted to a credit reporting agency if'
you fail to fulfill the terms of your credit obligations.
Payment can be made by check, check by phone, money order, credit card, debit card, or by visiting our website at

www.cbhv.com/make-online-payment.

To make a secure payment
online, please visit

For inquiries or to make a
www.cbhv.comlmake-online-payment

payment by phone, please call
MR STEWART at

(sse) 913-7489 or (973) 721-6367

P|ease mail payments or
correspondence to: . ®
CBHV *,*.
PO Box 831, ’ ’

Newburgh NY 12551-0831
# on your check,

P|ease write your CBHV Reference
CBHV Reference #-4547

   

For equipment return locations,
please visit www.cbhv.com/iocations
For instructions to return by maii, please visit
www.optimum.net/pages/equipment$hippinglnstructions.html

   

New York City
New York City Department of Consumer Afiairs License Number: 0905924

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~ Friday: 8:30 ANl - 5:00 PN| - Saturday: 8:30 AM - 12:30 PNl

395 ' Fax: (845) 913-7403

Co|lection Bureau o

PO Bo

Monday through Thursday: 8:'.19 AM - 9:00 PM
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